Case 06-00152-8-JRL           Doc 21 Filed 04/25/06 Entered 04/25/06 12:55:37                      Page 1 of 2



SO ORDERED.

SIGNED this 25 day of April, 2006.



                                                            ________________________________________
                                                                          J. Rich Leonard
                                                                  United States Bankruptcy Judge
____________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WILSON DIVISION


 IN RE:

 JAMES EARL BURNETTE and
 MAXINE NIXON BURNETTE,

                          Debtors.                     Case No. 06-00152-8-JRL
                                                       Chapter 13
 ____________________________________________________________________________

                                                   ORDER

         This matter is before the court on the request for an order confirming that the stay is terminated filed

 by Capital One Auto Finance (“Capital One”). On April 12, 2006, the court conducted a hearing in

 Wilson, North Carolina.

         Capitol One is a creditor in the debtors’ case, secured by a 2001 Toyota Camry. The debtors filed

 a previous Chapter 13 case, which was dismissed on November 2, 2005. Their current case was filed on

 January 19, 2006. Capital One asserts that, pursuant to 11 U.S.C. § 362(c)(3)(A), the automatic stay

 terminated on the thirtieth day after the petition was filed, as the debtors never filed a motion to extend the



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Case 06-00152-8-JRL           Doc 21 Filed 04/25/06 Entered 04/25/06 12:55:37                     Page 2 of 2




 stay. It seeks an order confirming that the stay is no longer in place.

         Under 11 U.S.C. § 362(c)(3)(A), if a debtor has a previous bankruptcy case dismissed within the

 year preceding the current bankruptcy case, the stay “with respect to any action taken with respect to a debt

 or property securing such debt or with respect to any lease shall terminate with respect to the debtor on the

 30th day after the filing of the later case.” In In re Paschal, Judge Small found that the use of the word

 “action” in this provision “means a formal action, such as a judicial, administrative, governmental, quasi-

 judicial, or other essentially formal activity or proceeding.” 337 B.R. 274, *15 (Bankr. E.D.N.C. 2006).

 If no “action” was taken by the creditor prior to the current bankruptcy filing, the stay does not automatically

 terminate as to that creditor. Id. at *17-18.

         At the hearing, Capital One acknowledged that it had taken no formal action against the debtors in

 the prior bankruptcy case or in the interim before the current case was filed. This court has previously

 indicated it will adhere to Judge Small’s decision in Paschal. See In re Parker, Case No. 06-00350-8-JRL

 (Bankr. E.D.N.C. Mar. 10, 2006). As there was no showing that Capital One has taken action to collect

 its debt or reclaim its collateral, the stay has not automatically terminated pursuant to § 362(c)(3)(A).

 Accordingly, the request filed by Capital One is denied.




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